     Case: 1:23-cv-01887 Document #: 41 Filed: 05/05/23 Page 1 of 1 PageID #:133


                   U.S. District Court for the Northern District Of Illinois
                                 Attorney Appearance Form


Case Title: Commodity Futures Trading                      Case Number: 1:23-CV-01887
            Commission v. Zhao et al.

An appearance is hereby filed by the undersigned as attorney for:
Binance Holdings Ltd., Binance Holdings (IE) Ltd., Binance (Services) Holdings Ltd.
Attorney name (type or print): Mary Beth Maloney

Firm: Gibson, Dunn & Crutcher LLP

Street address: 200 Park Avenue

City/State/Zip: New York , NY 10166

Bar ID Number: 5241302                                     Telephone Number: 212.351.2315
(See item 3 in instructions)

Email Address: mmaloney@gibsondunn.com

Are you acting as lead counsel in this case?                                    ✔ Yes              No

Are you acting as local counsel in this case?                                        Yes       ✔ No
Are you a member of the court’s trial bar?                                           Yes       ✔ No
If this case reaches trial, will you act as the trial attorney?                 ✔ Yes              No

If this is a criminal case, check your status.                        Retained Counsel
                                                                      Appointed Counsel
                                                                      If appointed counsel, are you
                                                                      a
                                                                          Federal Defender
                                              CJA Panel Attorney
______________________________________________________________________
In order to appear before this Court an attorney must either be a member in good standing of this Court’s
general bar or be granted leave to appear pro hac vice as provided for by local rules 83.12 through 83.14.
I declare under penalty of perjury that the foregoing is true and correct. Under 28 U.S.C.§1746, this
statement under perjury has the same force and effect as a sworn statement made under oath.

Executed on May 5, 2023

Attorney signature:            S/ Mary Beth Maloney
                               (Use electronic signature if the appearance form is filed electronically.)
                                                                                               Revised 8/1/2015
